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     STEPHEN M. LOBBIN
     sml@smlavvocati.com
 2   SML AVVOCATI P.C.
 3
     888 Prospect Street, Suite 200
     San Diego, California 92037
 4   (949) 636-1391 (Phone)
 5
     Attorney(s) for Plaintiff Display Technologies, LLC
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 7
                    IN THE UNITED STATES DISTRICT COURT
 8                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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      DISPLAY TECHNOLOGIES, LLC,                     CASE NO. '22CV0772 TWR DEB

11                 PLAINTIFF,                        PATENT CASE
12    V.                                             JURY TRIAL DEMANDED
13
      ROSSMAX USA, INC.,
14
                   DEFENDANT.                        COMPLAINT
15

16

17         Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this
18   Complaint against Rossmax USA, Inc. (“Defendant” or “Rossmax USA”) for
19   infringement of United States Patent No. 9,300,723 (the “ ‘723 Patent”).
20                            PARTIES AND JURISDICTION
21         1.     This is an action for patent infringement under Title 35 of the United
22   States Code. Plaintiff is seeking injunctive relief as well as damages.
23         2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
24   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
25   infringement arising under the United States patent statutes.
26         3.     Plaintiff is a Texas limited liability company with an address of 1 East
27   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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 1          4.     On information and belief, Defendant is a company located in California
 2   with a principal place of business at 11545 Sorrento Valley Rd, Suite 308, San Diego,
 3   CA. 92121 and may be served at this address.
 4          5.     This Court has personal jurisdiction over Defendant because Defendant
 5   has committed, and continues to commit, acts of infringement in this District, has
 6   conducted business in this District, and/or has engaged in continuous and systematic
 7   activities in this District.
 8          6.     Upon information and belief, Defendant’s instrumentalities that are
 9   alleged herein to infringe were and continue to be used, imported, offered for sale,
10   and/or sold in this District.
11                                              VENUE
12          7.     On information and belief, venue is proper in this District under 28
13   U.S.C. § 1400(b) because Defendant is a resident of this District. Alternatively, acts
14   of infringement are occurring in this District and Defendant has a regular and
15   established place of business in this District.
16                                             COUNT I
17         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
18          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
19          9.     This cause of action arises under the patent laws of the United States
20   and, in particular, under 35 U.S.C. §§ 271, et seq.
21          10.    Plaintiff is the owner by assignment of the ‘723 Patent with sole rights
22   to enforce the ‘723 Patent and sue infringers.
23          11.    A copy of the ‘723 Patent, titled “Enabling social interactive wireless
24   communications,” is attached hereto as Exhibit A.
25          12.    The ‘723 Patent is valid, enforceable, and was duly issued in full
26   compliance with Title 35 of the United States Code.
27          13.    Defendant has infringed and continues to infringe one or more claims,
28   including at least Claim 1 of the ‘723 Patent by making, using, and/or selling media
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 1   systems covered by one or more claims of the ‘723 Patent. For example, Defendant
 2   makes, uses, and/or sells the Rossmax BP Meter, associated software, hardware
 3   and/or apps (e.g., Rossmax Healthstyle app), and any similar products (“Product”).
 4   Defendant has infringed and continues to infringe the ‘723 Patent in violation of 35
 5   U.S.C. § 271.
 6         14.   Regarding Claim 1, the Product is a media system through which a user
 7   can view a media file (e.g. camera photos) from a camera, through a media terminal
 8   (e.g., smartphone) from a media node (e.g., Bluetooth server) over a communication
 9   network (e.g. Bluetooth network) through a communication link (wireless
10   communication). Certain aspects of this element are illustrated in the screenshots
11   below and/or those provided in connection with other allegations herein.
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17         15.   The Product includes at least one media terminal disposed in an
18   accessible relation to at least one interactive computer network. For example, the
19   Bluetooth network is used for sending camera photos by detecting a smartphone (at
20   least one media terminal) when the App is installed on the smartphone and connected
21   with the medical device through a Bluetooth network (i.e. computer network). Certain
22   aspects of this element are illustrated in the screenshots below and/or in those
23   provided in connection with other allegations herein.
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 1         16.   A wireless range is structured to permit authorized access to the at least
 2   one interactive computer network. For example, the smartphone is connected with
 3   the medical device through a Bluetooth network when the medical device is within
 4   Bluetooth range (wireless range) that permits the connection of the smartphone by the
 5   wireless network (interactive computer network).
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           17.   At least one media node is disposable within the wireless range, wherein
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     the at least one media node is detectable by the at least one media terminal. For
18
     example, the media node (connecting medical device and smartphone through a
19
     Bluetooth network) sends Bluetooth signals, which are detected by the smartphone
20
     (at least one media terminal) when the smartphone is in the camera’s Bluetooth range.
21
     Certain aspects of this element are illustrated in the screenshots below and/or those
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     provided in connection with other allegations herein.
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 1         18.   At least one digital media file is initially disposed on at least one of the
 2   at least one media terminal or the at least one media node and the at least one media
 3   terminal is structured to detect the at least one media node disposed within the
 4   wireless range. For example, the smartphone (media terminal) is connected with the
 5   medical device through a Bluetooth when the smartphone comes within range
 6   (wireless) of the Bluetooth signals. When the smartphone is connected with the
 7   medical device, the user can view photos and digital files of a medical device on the
 8   Smartphone (digital media file).
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             19.   A communication link is structured to dispose the at least one media
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       terminal and the at least one media node in a communicative relation with one another
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       via the at least one interactive computer network. For example, the smartphone
  18
       (media terminal) connects when the medical device (i.e. media node) comes to the
  19
       Bluetooth range detected by Smartphone (at least one media terminal) through a
  20
       Bluetooth network (interactive computer network).
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   1         20.    The communication link is initiated by the at least one media terminal.
   2   For example, the communication link, i.e., Bluetooth network, which is the link
   3   between smartphone and the medical device (i.e., media node) whenever the medical
   4   device (i.e., media node) comes to Bluetooth range of Smartphone (at least one media
   5   terminal).
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             21.    The at least one media node and the at least one media terminal are
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       structured to transmit the at least one digital media file therebetween via the
  16
       communication link. For example, the smartphone is connected with the medical
  17
       device through a Bluetooth network (media node) when the smartphone (media
  18
       terminal) is within the Bluetooth range. The user can then view photos and digital
  19
       files of the medical device on the smartphone (digital media file).
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             22.    The communication link is structured to bypass at least one media
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       terminal security measure for a limited permissible use of the communication link by
  17
       the media node to only transferring the at least one digital media file to, and displaying
  18
       the at least one digital media file on, the at least one media terminal. For example,
  19
       the communication link is structured so that whenever the user installs the application
  20
       on the smartphone (media terminal), the smartphone is connected with the medical
  21
       device through a Bluetooth (i.e. media terminal security) when the smartphone is
  22
       within range (wireless) of the Bluetooth signals. When the smartphone is connected
  23
       with the medical device, the user can view photos and digital files of a camera on the
  24
       Smartphone (digital media file).
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             23.   Defendant’s actions complained of herein will continue unless
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       Defendant is enjoined by this court.
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   1         24.    Defendant’s actions complained of herein are causing irreparable harm
   2   and monetary damage to Plaintiff and will continue to do so unless and until
   3   Defendant is enjoined and restrained by this Court.
   4         25.    Plaintiff is in compliance with 35 U.S.C. § 287.
   5                               DEMAND FOR JURY TRIAL
   6         28.    Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal
   7   Rules of Civil Procedure, requests a trial by jury of any issues so triable by right.
   8                                   PRAYER FOR RELIEF
   9         WHEREFORE, Plaintiff asks the Court to:
  10         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
  11   asserted herein;
  12         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
  13   employees, attorneys, and all persons in active concert or participation with Defendant
  14   who receive notice of the order from further infringement of United States Patent No.
  15   9,300,723 (or, in the alternative, awarding Plaintiff running royalties from the time of
  16   judgment going forward);
  17         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
  18   accordance with 35 U.S.C. § 284;
  19         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
  20         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
  21   entitled under law or equity.
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  23   Dated: May 27, 2022                     Respectfully submitted,
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                                               /s/ Stephen M. Lobbin
  25                                           Attorney(s) for Plaintiff
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